Dear Honorable Terrill,
The Attorney General has received your request for an opinion wherein you ask, in effect, the following questions:
1. May consolidation of municipal elective offices pursuant to 11O.S. 12-112 (1978) occur immediately when there is a "lag time" ofone year or more between election of officers holding the officesto be consolidated?
 2. If there cannot be immediate consolidation, what is the mostexpedient way these offices may be merged?
The authority to merge and consolidate offices of a town board of trustees form of government is set forth in 11 O.S. 12-112 (1978) which provides:
  "In the town board of trustees form of government there shall be such administrative departments, officers and agencies as the board may establish. The board may combine, merge or consolidate any of the various offices of town government by ordinance as it deems necessary and convenient for the administration of the affairs or government of the town. Any consolidation of elected town offices shall not go into effect until the end of the term of office of those officers whose offices are consolidated. An ordinance consolidating offices must be enacted at least thirty (30) days prior to the date of the next municipal primary election."
Likewise, an identical provision for aldermanic forms of city government is contained in 11 O.S. 9-115 (1978). 11 O.S. 9-115 and 11 O.S. 12-112 (1978) do not allow immediate consolidation of two elective offices. In the event of merger, Neither the offices nor the officers are immediately effected since merger does not take effect "until the end of the term of office of those officers whose offices are consolidated."
Due to the election provisions for staggered terms of elected officers in both statutory towns and aldermanic cities 11 O.S. 16-201 — 11 O.S. 16-206 (1978) a gap of one to two years could indeed exist between the end of the terms of offices being consolidated. Consolidation, however, may not be effected prior to the end of the term of office of the last office to be consolidated.
In your second question you inquired as to "the most expedient" manner to effect the merger of two elective offices, should we conclude, as we have, that immediate consolidation is not possible under the statute. Unfortunately, the statutes do not authorize any other manner of consolidation of elective offices. Absent corrective legislative action, consolidation of elective offices may not be accomplished in any manner other than provided by 11 O.S. 9-115 and 11 O.S. 12-112 (1978).
It is the opinion of the Attorney General that your questions beanswered as follows: Consolidation of municipal elective offices isexpressly governed by 11 O.S. 9-115 and 11 O.S. 12-112 (1978); thus,consolidation of elective offices may not occur before the end of theterm of office of those officers whose offices are consolidated.
JAN ERIC CARTWRIGHT, ATTORNEY GENERAL OF OKLAHOMA
MICHAEL JACKSON, ASSISTANT ATTORNEY GENERAL